                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF WISCONSIN
                          MILWAUKEE DIVISION

Donald J. Trump, Candidate for               )
President of the United States of            )
America,                                     )
                                             )
             Plaintiff,                      )
                                             ) Case No. 2:20-cv-01785-BHL
      vs.                                    )
                                             )
The Wisconsin Elections Commission, et       )
al.                                          )
                                             )
             Defendants.                     )




 PLAINTIFF’S CONSOLIDATED REPLY BRIEF IN SUPPORT OF MOTION
          FOR INJUNCTIVE AND DECLARATORY RELIEF
        AND BRIEF IN RESPONSE TO MOTIONS TO DISMISS




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                                   INTRODUCTION

       As expected, Defendants1 attempt to couch Plaintiff’s action as thwarting the

will of Wisconsin voters, when in fact, Plaintiff seeks to vindicate his right to

compete for the Office of President of the United States in the State of Wisconsin in

an election that complies with Article II of the U.S. Constitution. Any blame for

disenfranchising voters lies at the feet of Defendants, who put voters at risk by

willfully usurping the Wisconsin Legislature’s exclusive authority—vested by

Article II of the Constitution—for directing the manner of appointing Presidential

Electors. The Defendants were even forewarned that their deviations from the

Wisconsin Election Code might jeopardize the votes of Wisconsin citizens, yet they

willfully plunged ahead.




   1 Throughout this Reply, the following party definitions and abbreviations have
been used: The term “Municipal Defendants” refers to Defendants Scott
McDonell, Maribeth Witzel-Behl, Mayor Cory Mason, Tara Coolidge, Mayor John
Antaramian, Matt Krauter, Mayor Eric Genrich, Kris Teske, and Mayor Satya
Rhodes-Conway; the term “Milwaukee City Defendants” refers to Defendants
Mayor Tom Barrett, Jim Owczarski, and Claire Woodall-Vogg; the term
“Milwaukee County Defendants” refers to George L. Christenson and Julietta
Henry; and the term “WEC” refers to Defendants Wisconsin Elections Commission,
and its members, Ann S. Jacobs, Mark L. Thomsen, Marge Bostelman, Dean
Knudson, Robert F. Spindell as well as Douglas J. La Follette, Wisconsin Secretary
of State, who joined in the Response.

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                                    ARGUMENT

A.     Focus of this lawsuit: The November 3 Presidential Election was not
       conducted in the “manner” directed by the Wisconsin Legislature,
       and therefore it would violate Article II of the U.S. Constitution to
       appoint electors based on its results

     This case is about methods of voting used, but never approved by the Wisconsin

Legislature. We have in this case new terms, never heard of before in the history of

Wisconsin elections, terms like “absentee ballot drop boxes” and the almost

Orwellian: “human drop boxes.”

     It has been said over and over by the administrators who ran the election in

Wisconsin that it was the most secure and reliable election in the State’s history.

The evidence in this case demonstrates those statements to be dramatically untrue.

     Contrary to the requirements of the Wisconsin Election Code, the election

administrators at the Wisconsin Election Commission and in Milwaukee and Dane

Counties pushed an absentee ballot election, the less secure of the two methods of

voting under Wisconsin law. And then the administrators pushed to make their

absentee ballot election even less secure. They did this, unelected election

administrators did this, by deviating from the law, substituting their “wisdom” for

the laws passed by the State Legislature and signed by the Governor.

     Absentee ballot drop boxes are illegal under Wisconsin Law. Yet, the Wisconsin

Elections Commission disbursed millions of dollars to local units of government to

purchase drop boxes for use in the Presidential election. Thus, not only did the

Wisconsin Elections Commission deviate from the Election Code by adding drop box



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voting as a new method of voting in the State, the Commission funded violation of

the law throughout the State.

    And that’s not all, election administrators took absentee ballot witness

certifications, made under penalty of perjury on the back of absentee ballot

envelopes, and marked them up like they were a grade school homework

assignment. In so doing, they undermined the purpose of the certification to serve

as a reliable indicator that the envelope contained a vote from a valid elector.

    Next, the Commission and election administrators obliterated the photo

identification law adopted by the Legislature, meant to prevent fraud, by widening

a narrow exception for “indefinitely confined” voters to fit every voter in the State –

a construction that rendered the words of the statute meaningless. Then in a move,

not permitted or justified by the Code, the Wisconsin Elections Commission issued

guidance to clerks telling them that they could not contest a voter’s claim to be

indefinitely confined. In this way what was written as a limited exception, and

provided that indefinitely confined voters did not have to provide photo

identification when voting absentee, became applicable to the entire State,

effectively gutting Wisconsin’s photo ID law.

    In short, Wisconsin’s most influential election administrators at the Wisconsin

Election Commission and in Wisconsin’s two most populous counties dramatically

lowered guardrails that made this election, in terms of the rules applied, less

secure, less reliable, less fair and more susceptible to fraud than perhaps any



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election in Wisconsin’s history. And all of this happened without the sort of public

access, oversight and transparency that are fundamental in a free society.

       Most importantly, these massive changes to Wisconsin law were accomplished

through administrative fiat, usurping the constitutional authority of the Wisconsin

Legislature. Article II of the United States Constitution requires that each State

“shall appoint” its Presidential electors “in such Manner as the Legislature thereof

may direct.” U.S. CONST. art. II, § 1, cl. 4 (emphasis added).2

       This means that, “in the case of a law enacted by a state legislature applicable

not only to elections to state offices, but also to the selection of Presidential electors,

the legislature is not acting solely under the authority given it by the people of the

State, but by virtue of a direct grant of authority made under Art. II, § 1, cl. 2, of the

United States Constitution.” Bush v. Palm Beach Cty. Canvassing Bd., 531 U.S. 70,

76 (2000).

       As Chief Justice Rehnquist said, the constitutional delegation of power to the

state legislature means that “the text of [state] election law itself, and not just its

interpretation by the courts of the States, takes on independent significance.” Bush

v. Gore, 531 U.S. at 112–13 (Rehnquist, C.J., concurring).

       “[A] significant departure from the [State’s] legislative scheme for appointing

Presidential electors” or for electing members of the federal Congress “presents a



   2 See also id. art. I, § 4, cl. 2 (providing that, in each State, the “Legislature thereof”
shall establish “[t]he Times, Places and Manner of holding Elections for Senators and
Representatives”).


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federal constitutional question” that courts must address. Bush v. Gore, 531 U.S. 98,

113 (2000) (Rehnquist, C.J., concurring).

    The evidence in this case demonstrates that when conducting the 2020

Presidential election in the State of Wisconsin, the State’s administrative officials

failed to follow the Wisconsin Election Code.

    In Cook v. Gralike the Supreme Court considered the similar Elections Clause,

noting it constituted a limited delegation. The Court said, “Through the Elections

Clause, the Constitution delegated to the States the power to regulate the ‘Times,

Places and Manner of holding Elections for Senators and Representatives,” subject

to a grant of authority to Congress to “make or alter such Regulations.’ Art. I, § 4,

cl. 1.” Cook v. Gralike, 531 U.S. 510, 522, 121 S. Ct. 1029, 1038, 149 L. Ed. 2d 44

(2001).

    Each State is delegated authority to cast electoral votes for president in 2020,

but, only if 3 conditions are met:

      1) a statewide vote for electors is held on Nov. 3; (required by 3 U.S.C. § 1)
      2) that election must be held in the manner directed by the state legislature;
      (required by U.S. CONST. Art. II, § 1, cl. 2) and
      3) the electors must cast their votes on Dec. 14 (required by 3 U.S.C. § 7).
    If a State fails to meet any condition, it cannot cast its electoral votes for

President and Vice President, just as in any other situation, public or private, the

result reached by the agent is invalid if the conditions of the delegation are not

honored.



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     Fortunately for the State of Wisconsin, the Electoral Count Act does contain a

savings provision that permits the State Legislature to appoint electors in the event

the Presidential election held in the State or to be held in the State does not meet

constitutional standards or otherwise fails. One can imagine a number of reasons

why the Presidential election can fail in addition to not meeting Constitutional

standards.

     To cover such situations Congress enacted 3 U.S.C. § 2 which provides:

       Whenever any State has held an election for the purpose of choosing
       electors, and has failed to make a choice on the day prescribed by law,
       the electors may be appointed on a subsequent day in such a manner
       as the legislature of such State may direct.

     The State of Wisconsin’s Article II duty to follow properly adopted state election

law is fundamentally important because Article II of the Constitution reposes the

authority to appoint Presidential electors solely in the State Legislatures. This

decision by the Framers was a key choice, and it flowed directly from the Framers’

recognition that federalism and separation of powers are indispensable to protecting

the liberty of the American people.

B.     This case is justiciable, neither standing nor mootness prevent the
       Court from reaching the merits

     “Chief Justice Marshall famously wrote that it is ‘the province and duty of the

judicial department to say what the law is.’” Rucho v. Common Cause, 139 S. Ct.

2484, 2494 (2019) (quoting Marbury v. Madison, 1 Cranch 137, 177, 2 L.Ed. 60

(1803)). Defendants, like the federal courts will do, “begin [their] analysis with the




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threshold issue of justiciability.” Dep't of Commerce v. U.S. House of

Representatives, 525 U.S. 316, 328 (1999).

     Justiciability considers whether a matter is “properly suited for resolution by

the federal courts.” Rucho v. Common Cause, 139 S. Ct. 2484, 2491 (2019).

Justiciability bears on jurisdiction, and without jurisdiction, “the federal courts

cannot proceed.” Wernsing v. Thompson, 423 F.3d 732, 742–43 (7th Cir. 2005); see

also Rucho v. Common Cause, 139 S. Ct. 2484, 2494 (2019) (“when a case is

“nonjusticiable—[it is] outside the courts’ competence and therefore beyond the

courts’ jurisdiction.”).

     “‘[The] case-or-controversy requirement subsists through all stages of federal

proceedings, trial and appellate.’ Another way to state the justiciability principles

set forth above is that ‘Article III denies federal courts the power to decide questions

that cannot affect the rights of the litigants in the case before them.’” Zessar v.

Keith, 536 F.3d 788, 794 (7th Cir. 2008) (citations omitted). “Justiciability is of

course not a legal concept with a fixed content or susceptible of scientific

verification.” Poe v. Ullman, 367 U.S. 497, 508 (1961).

     Here, Defendants raise the justiciability questions of standing and mootness.

We address standing first.

1.     Standing

      “First and foremost is the question of standing. ‘Article III of the Constitution

confines the federal courts to adjudicating actual ‘cases' and ‘controversies.’”

Wernsing v. Thompson, 423 F.3d 732, 742–43 (7th Cir. 2005) (quoting Allen v.

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Wright, 468 U.S. 737, 750, 104 S.Ct. 3315, 82 L.Ed.2d 556 (1984).) “Standing has

essentially three components. A plaintiff must show that he has suffered an ‘injury

in fact,’ that the challenged action caused the injury, and that the injury can likely

be redressed by the cause of action.” Krislov v. Rednour, 226 F.3d 851, 857 (7th Cir.

2000). Here, President Trump satisfies each element of standing.

    The first two elements should be evident without elaboration. President Trump

was denied the Constitutional right to have electors appointed in a lawful manner

in an election in which he was a candidate–in this case the “lawful manner” is that

manner directed by the legislature (i.e. according to the State of Wisconsin’s duly

enacted election statutes). See U.S. Const. art II, §1, cl. 4.3

    In L. Lin Wood, Jr., Plaintiff-Appellant, v. Brad Raffensperger, in his official

capacity as Sec'y of State of the State of Georgia, Rebecca N. Sullivan, in her official

capacity as Vice Chair of the Georgia State Election Bd., et al., Defendants-

Appellees., No. 20-14418, 2020 WL 7094866 (11th Cir. Dec. 5, 2020), the plaintiff

sued as a citizen and donor for violations of the Election Clause, Electors Clause,

Equal Protection Clause, and irregularities in the recount violating his rights under

the Due Process Clause. The Eleventh Circuit denied Wood standing, holding he

had not alleged merely a generalized grievance. However, the Court held that “a

political candidate harmed by the recount would satisfy [the injury in fact]


   3Notably, President Trump is not contending here that his injury was not
winning per se, but rather not having an election conducted pursuant to the
Constitution.

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requirement because he could assert a personal, distinct injury.” Id. The Eleventh

Circuit was not considering standing to bring a state recount action, but the right to

bring constitutional claims based on the state’s conduct of the election.

    Similarly, in Carson v. Simon, 978 F.3d 1051 (8th Cir. 2020), the Eighth Circuit

considered a COVID-inspired change to state election deadlines for absentee ballots

that was adopted by the Minnesota Secretary of State. The Carson court reversed

the Secretary’s change based on the Elector Clause, holding the Secretary had

invaded the province of the Legislature and that presidential “Electors have Article

III standing as candidates.” Carson, 978 F.3d at 1058. Obviously, if a Presidential

Elector has standing under Article III, the candidate likewise has standing.

    The cases cited by the Municipal Defendants (Bognet (citing Allen v. Wright,

468 U.S. 737) and Lance v. Coffman, 549 U.S. 437, 442 (2007)) are classic taxpayer

standing cases,4 with no relationship to the issue at hand where a candidate alleges

an election the candidate participated in, was conducted contrary to the statute.

    “To qualify for standing, a claimant must present an injury that is concrete,

particularized, and actual or imminent.” Davis v. Fed. Election Comm'n, 554 U.S.

724, 733 (2008). Here, a candidate was harmed by the Defendants’ failure to comply

with the Wisconsin election statutes.




   4Allen involved parents suing the Internal Revenue Service for failing to adopt
procedures to deny tax-exempt status to discriminatory school districts, and
Coffman involved citizens suing after a post census-redistricting dispute.

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    Similarly, Defendants cite to Lance v. Coffman, 549 U.S.437 (2007) for the

proposition that President Trump did not have standing. But Lance is inapposite. In

Lance, four citizens brought suit alleging the Colorado Constitution, as interpreted

by the Colorado Supreme Court violated their rights under the Elections Clause. Id.

at 1196. None of the litigants had a differentiated or particularized interest in the

dispute. As the Court reiterated, “We have consistently held that a plaintiff raising

only a generally available grievance about government—claiming only harm to his

and every citizen's interest in proper application of the Constitution and laws, and

seeking relief that no more directly and tangibly benefits him than it does the public

at large—does not state an Article III case or controversy.” Lance v. Coffman, 549

U.S. 437, 439 (2007).

    In contrast, a candidate has a particularized interest in the conduct of an

election. Where the intent of standing doctrine is to ensure “a plaintiff must have

more than ‘a general interest common to all members of the public’” (Lance, 549

U.S. at 440) – a candidate satisfies that requirement, as both the Eighth and

Eleventh Circuits have recently held. Carson, 978 F.3d 1051; Wood, 2020 WL

7094866.

    Second, the actions complained of plainly caused the injury. The actions

described of in the complaint contravened State Election Law which, for purposes of

a Presidential election is, under Article II treated as federal law; thus, the election

was not held in the manner directed by the state legislature.



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    The remaining element is whether the injury can be redressed by this action.

Wernsing v. Thompson, 423 F.3d 732, 742–43 (7th Cir. 2005) (“Third, it must be

likely, as opposed to merely speculative, that the injury will be redressed by a

favorable decision.”) And the answer is yes.

    As the Seventh Circuit held in Krislov, the plaintiff (President Trump) “must

show that [he] would benefit in a tangible way from the district court's

intervention.” Krislov, 226 F.3d at 858. Here, President Trump moves the Court to

declare the election void because the Defendants failed to hold the election pursuant

to the State of Wisconsin’s duly enacted election statutes. The result of a void

election, like any void action, means the election (action) did not occur. Federal law

provides the means for appointment of electors in that circumstance.

      Whenever any State has held an election for the purpose of choosing
      electors, and has failed to make a choice on the day prescribed by law,
      the electors may be appointed on a subsequent day in such a manner
      as the legislature of such State may direct.

3 U.S.C. § 2.
    Here, if the Court voids the election because it was not conducted pursuant to

Constitutional direction, federal statutes provide a means to take the place of a void

election. The electors will have been appointed in a lawful manner, thereby

addressing the injury incurred. Furthermore, electors appointed in an

unconstitutional manner will not be countable for President Trump’s opponent,

lessening the impact of the Constitutional violation on President Trump.




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2.        This action is not moot

     The Municipal Defendants claim this action is moot because the election has

been certified. However, the electoral process in Wisconsin is continuing as the

recount and contest continues.

     The Wisconsin Elections Commission has taken the position that final

resolution of judicial controversies can take as long as January 6 because, under the

Constitution, none of the votes cast for president are even opened before that date.

As the Wisconsin Elections Commissions explained in its earlier filing in this

Wisconsin Supreme Court (the Original Action), the winner of Wisconsin’s ten

electoral votes can be certified “after the electors have convened and cast their

electoral votes,” and before January 6.5 Response of Respondents Wisconsin

Elections Commission and Commissioner Ann Jacobs in Case. No. 20AP1971-OA,

filed Dec. 1, 2020, at 8.6 Therefore, this matter is not moot, nor will it be moot after

December 14.

     As WEC explained in the Original Action filing, 3 USC § 6 provides that a state

governor may issue a certificate of ascertainment based on the canvassing and then


     5   The WEC Original Action brief, dated December 1, 2020, is attached as Exhibit
A.
     See also Bush v. Gore, 531 U.S. 98, 144 (2000) (Ginsburg, J., dissenting) (noting
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that the date that has “ultimate significance” under federal law is “the sixth day of
January,” the date set by 3 U.S.C. § 15 on which “the validity of electoral votes” is
determined); Laurence H. Tribe, Comment: eroG .v hsuB and Its Disguises: Freeing
Bush v. Gore From Its Hall of Mirrors, 115 Harv. L. Rev. 170, 265-66 (2001) (noting
that the only real deadline for a State’s electoral votes to be finalized is “before
Congress starts to count the votes on January 6”).

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a subsequent certificate of “determination” upon the conclusion of all election

challenges. Id. The certificate of “determination” notifies the U.S. Congress of the

state decision when Congress convenes on January 6 to count the electoral votes.

Consequently, the WEC has acknowledged that this matter is not moot, and could

not be for at least four more weeks.

     Furthermore, because the Municipal Defendants have used election means

contrary to law, and claim not that the errors have been corrected but instead that

they are lawful, the actions are presumably likely to repeat, and will evade review.

Of course “capable of repetition yet evading review” is “a recognized exception to the

mootness doctrine.” Krislov v. Rednour, 226 F.3d 851, 858 (7th Cir. 2000).

         Furthermore, President Trump has articulated the potentiality of running for

office again if he were not determined to have won the 2020 election.7 See Krislov,

226 F.3d at 858 (candidate’s articulation of interest in running for office again

prevents mootness from barring suit).

C.         The doctrine of laches cannot justify avoiding the merits.

     WEC and the Secretary of State, the DNC, the Wisconsin NAACP, Governor

Evers, the Municipal Defendants, and Milwaukee all claim the doctrine of laches

bars this action. Defendants can only make this argument by ignoring the facts and

law surrounding this dispute.




    https://www.washingtonpost.com/politics/trump-2024-
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rematch/2020/11/21/58ce87ac-2a8d-11eb-8fa2-06e7cbb145c0_story.html.

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    To dismiss this case on the basis of laches, the Court must find President

Trump exercised a lack of diligence asserting his claims and that the Defendants

were prejudiced. Lingenfelter v. Keystone Consol. Indus., Inc., 691 F.2d 339, 340 (7th

Cir. 1982)

    At the outset, laches requires that the party against whom the defense is

asserted did not act diligently. Lingenfelter, 691 F.2d at 340.

    As discussed at length in the Complaint, the wrongful actions complained of

were taken in accordance with guidance issued by the Wisconsin Elections

Commission (“WEC”). It frequently cannot be conclusively determined at the outset

whether that guidance will have any impact upon the election or, indeed, whether

that guidance might be changed as a result of public pushback. Therefore, it cannot

reasonably be expected that a candidate would sue immediately upon issuance of a

guidance by the WEC. The WEC issues scores of guidance documents every election

cycle. It is only when that guidance is followed on a large scale in a way that

becomes publicly known that it can even be thought that a candidate should

consider suit. Just last week President Trump filed his original action in the

Wisconsin Supreme Court. (No. 2020AP001971-OA) As set forth in its brief, WEC

provides that its guidance is “advice” – it does not hold the force of law. Id. citing

WEC, Recount Manual November 2020, at pp. 7-8, n. 5, available at

https://elections.wi.gov/sites/elections.wi.gov/files/2019-02/Recount%20Manual%20Final

%20%288-2018%29.pdf.



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    WEC’s view is consistent with the interpretation of the Wisconsin Supreme Court,

holding that WEC manuals and memos: “are not law, they do not have the force or effect

of law, and they provide no authority for implementing or enforcing standards or

conditions.” SEIU v. VOS, 2020 WI 67, ¶ 102. As the Wisconsin Supreme Court held,

the guides “explain” statutes and rules or provide “guidance or advice” about how the

executive branch is “likely to apply” a statute or rule. Id. They impose no obligations,

set no standards, and bind no one. Id. Therefore, it is almost certain that any suit

challenging a guidance early in the process would be met with a claim the challenge was

not ripe or based upon a speculative fear of injury.

    As also identified in the Original Action, WEC can, and does, change its advice.

WEC, Recount Manual November 2020, at pp. 7-8, n. 5, available at

https://elections.wi.gov/sites/elections.wi.gov/files/2020-11/Recount%20Manual%20

Final%20%2811-2020%29%20highlight.pdf; see also Recount Manual August 2018,

available at https://elections.wi.gov/sites/elections.wi.gov/files/2019-02/Recount%20

Manual%20Final%20%288-2018%29.pdf. WEC claims that its advice can be changed,

enhanced, revoked or ignored at any time as evidenced by the limitless number of

advisories, letters, opinions, and booklets which it generates. The effect of all this is

that a candidate will not know clearly the extent to which the WEC’s guidance will

be implemented at the time it is issued and a suit at that time would likely be futile.

    Incredibly, the Municipal Defendants argue that even the election statutes are




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“directory, not mandatory.”8 Their position adds to the view that until a candidate

knows what rules will in fact be adhered to, an action to prevent deviations from the

statute would not be ripe.

    To expect any candidate, let alone a candidate running in fifty states, to protest

every potentially changeable bit of guidance that may be issued is an unreasonable

burden. Instead, there was no obligation to challenge the actions deviating from the

elections statutes until the advice had been put into actions. In fact, until the actions

were taken, the issues were not even ripe, as the advice was suggestive and subject to

change.

    Once the actions were taken, and the election was underway, whether suit was filed

the day after the election or a month later is really of no moment. The Defendants’

actions resulted in an election that violated the Electors’ Clause – the election was not

conducted pursuant to the laws promulgated by the Wisconsin legislature. As a result,

the election was void. It became void and the passage of time did not make it more or

less void.

    Returning to the Original Action, President Trump noted that the legality of the

“advice” deviating the meaning of “indefinitely confined” from the statutory definition

was already litigated and determined to be illegal. See Jefferson v. Dane, No.

2020AP557-OA, March 31, 2020 Order at 2. Yet the Municipal Defendants persisted

in their illegal acts. Similarly, the Republican Party of Wisconsin warned the City of

   8According to Merriam Webster, “directory” means providing advisory but not
compulsory guidance.

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Madison Clerk that the “Democracy in the Park” activities were illegal. The City of

Madison went forward regardless.

     Laches does not apply here. President Trump has not sat on his rights. Further,

even if the Court were to conclude otherwise, the Defendants have not been

prejudiced. The election was void as a result of their actions. An earlier suit could

not have cured the violations the Defendants willfully participated in.

D.     This court must reach the merits; there is no basis for abstaining

1.     Wilton/Brillhart doctrine does not apply

     The Municipal Defendants and Milwaukee County Defendants move for

dismissal pursuant to the Wilton/Brillhart doctrine. Predicated on the fact the

Declaratory Judgment Act affords federal courts the discretion to decide whether to

determine a litigant’s rights, the Wilton/Brillhart doctrine provides that the federal

court has the “opportunity, rather than a duty” to grant declaratory relief. R.R. St.

& Co. v. Vulcan Materials Co., 569 F.3d 711, 714 (7th Cir. 2009).

     The Defendants’ argument fails for two reasons. First, it applies only to cases in

diversity, not cases based upon a federal question. Second, Plaintiff’s non-

declaratory judgment claims stand alone.

     First, Wilton/Brillhart applies to cases heard in diversity. Twelve years ago,

this Court held: “To abstain, the parallel state court proceeding must present ‘the

same issues, not governed by federal law, between the same parties…’” Nissan N.

Am., Inc. v. Andrew Chevrolet, Inc., 589 F. Supp. 2d 1036, 1041 (E.D. Wis. 2008)

(quoting Royal Indemnity Co. v. Apex Oil Co., 511 F.3d 788, 793 (8th Cir. 2008).

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    Looking to Brillhart, the limitation is clear:

      Ordinarily it would be uneconomical as well as vexatious for a federal
      court to proceed in a declaratory judgment suit where another suit is
      pending in a state court presenting the same issues, not governed by
      federal law, between the same parties. Gratuitous interference with
      the orderly and comprehensive disposition of a state court litigation
      should be avoided.

      Where a district court is presented with a claim such as was made
      here, it should ascertain whether the questions in controversy between
      the parties to the federal suit, and which are not foreclosed under the
      applicable substantive law, can better be settled in the proceeding
      pending in the state court.

Brillhart v. Excess Ins. Co. of Am., 316 U.S. 491, 495 (1942).

    Here, the case is brought under federal question jurisdiction, not diversity. See

Complaint ¶ 24. Wilton/Brillhart is simply inapplicable. Even if a federal question

was not at issue, abstention still would not be appropriate because both declaratory

and non-declaratory relief is requested.

    Wilton/Brillhart did not address a situation where declaratory and non-

declaratory relief is sought and the Seventh Circuit questioned how it would be

applied. R.R. St., F.3d at 715 (“But where, as here, both declaratory and non-

declaratory relief is sought, does the Wilton/Brillhart standard even apply, and, if

so, under what circumstances?”). Therefore, the Seventh Circuit surveyed how the

doctrine had been applied in the Ninth Circuit and Fifth Circuit, and adopted the

Ninth Circuit’s application – holding:

      Where state and federal proceedings are parallel and the federal suit
      contains claims for both declaratory and non-declaratory relief, the
      district court should determine whether the claims seeking non-
      declaratory relief are independent of the declaratory claim. If they are

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      not, the court can exercise its discretion under Wilton/Brillhart and
      abstain from hearing the entire action. But if they are, the
      Wilton/Brillhart doctrine does not apply and, subject to the presence of
      exceptional circumstances under the Colorado River doctrine, the court
      must hear the independent non-declaratory claims

Id. at 716-17.

    Applying the rule of law set forth above, the Seventh Circuit considered

whether the non-declaratory judgment claims could stand alone – “jurisdictionally

and substantively.” Holding the remaining claims could stand without the

declaratory judgment claims, the Seventh Circuit held Wilton/Brillhart did not

apply. Id. at 717.

    Likewise here, if the declaratory judgment claim were excised, the prayer for

injunctive relief would remain. President Trump, based on the facts alleged would

be entitled to a mandatory injunction (as discussed in Part G, infra) requiring

Governor Evers to issue a certificate of determination consistent with, and only

consistent with, the appointment of electors by the Wisconsin legislature.

    Because the non-declaratory judgment claim is independent of the declaratory

judgment action, Wilton/Brillhart does not apply and abstention is inappropriate.

    Even if the Court held the injunctive relief claim does not stand alone,

abstention pursuant to Wilton/Brillhart remains merely within the discretion of

this Court. R.R. St., 569 F.3d at 715 (“a court may dismiss or stay an action”). This

Court is under no compunction to abstain. Nor does Wilton/Brillhart contain even a

presumption of abstention. To the contrary, this Constitutional issue of great public



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import is worthy of review by the federal courts, rather than an exercise of

discretion to abstain from hearing the matter.

2.     Colorado River does not apply

     The DNC, Governor Evers, and the Milwaukee Defendants urge the Court to

abstain pursuant to Colorado River. They are incorrect and fail to observe that

“federal courts have a ‘virtually unflagging obligation ... to exercise the jurisdiction

given them.’” Culp v. Flores, 454 F. Supp. 3d 764, 771 (N.D. Ill. 2020) (quoting AXA

Corp. Sols. v. Underwriters Reins. Corp., 347 F.3d 272, 278 (7th Cir. 2003)).

     An “unflagging obligation” should not be set lightly aside. To the contrary

abstention is appropriate only in exceptional circumstances and “[t] here is a

presumption against abstention.” Huon v. Johnson & Bell, Ltd., 657 F.3d 641, 646

(7th Cir. 2011).

     This Court must determine if there are “the clearest of justifications” to

surrender jurisdiction. Culp v. Flores, 454 F. Supp. 3d at 771. In doing so, the court

weighs ten non-exclusive factors. Freed v. J.P. Morgan Chase Bank, N.A., 756 F.3d

1013, 1018 (7th Cir. 2014) AAR Int'l Inc., 250 F.3d at 522. The factors are:

       (1) whether the state has assumed jurisdiction over property;
       (2) the inconvenience of the federal forum;
       (3) the desirability of avoiding piecemeal litigation;
       (4) the order in which jurisdiction was obtained by the concurrent forums;
       (5) the source of governing law, state or federal;
       (6) the adequacy of state-court action to protect the federal plaintiff's rights;
       (7) the relative progress of state and federal proceedings;
       (8) the presence or absence of concurrent jurisdiction;
       (9) the availability of removal; and
       (10) the vexatious or contrived nature of the federal claim.


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Freed v. J.P. Morgan Chase Bank, N.A., 756 F.3d 1013, 1018 (7th Cir. 2014).

     While factors 3 and 8 may caution in favor of abstention. The remaining eight

(8) factors are either neutral or counsel against abstention. Significantly, as the

Seventh Circuit held in Houn, “although no one factor is determinative, the

Supreme Court has cautioned that ‘the presence of federal-law issues must always

be a major consideration weighing against surrender.’” Huon v. Johnson & Bell,

Ltd., 657 F.3d at 648 (internal citation omitted). Furthermore, absent or neutral

factors weigh in favor of exercising jurisdiction (against abstention).

     Here, the Defendants must lean heavily on the desire to avoid piecemeal

litigation and the presence of concurrent jurisdiction. Yet those interest pale in

comparison to the federal courts’ weighty interests in Constitutional claims.

Particularly where there is a presumption against abstention, Defendants simply

cannot demonstrate a necessity for abstention.

3.     Pullman abstention

     Finally, the Municipal Defendants, Governor Evers, and the Milwaukee County

Defendants seek abstention under the Pullman doctrine. “Pullman abstention is

appropriate ‘only when (1) there is a substantial uncertainty as to the meaning of

the state law and (2) there exists a reasonable probability that the state court's

clarification of state law might obviate the need for a federal constitutional

ruling.’” Wisconsin Right to Life State Political Action Comm. v. Barland, 664 F.3d

139, 150 (7th Cir. 2011).



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     Simply on its face, there is no basis to invoke the Pullman doctrine. There is no

substantial uncertainty regarding the meaning of any of the Wisconsin election

statutes implicated by this suit. What is at issue is the decision by local officials

(elected and unelected) deciding not to follow the unequivocal statutes as written by

the legislature. Further, there is no clarification underway in any litigation. The

recount will not clarify the law. Consequently, abstention is inappropriate.

     Significantly, the Seventh Circuit observed that “[t]he Supreme Court has

recently stated that Pullman abstention operates only where ‘the resolution of a

federal constitutional question might be obviated if the state courts were given the

opportunity to interpret ambiguous state law.’” Int'l Coll. of Surgeons v. City of

Chicago, 153 F.3d 356, 365 (7th Cir. 1998) (emphasis added). The constitutional

question here will not be determined elsewhere. Furthermore, while the Defendants

raise objections of delay (laches), they fail to acknowledge that the risk of delay that

they seek by invoking abstention is a consideration to determine abstention is

inappropriate. Kendall-Jackson Winery, Ltd. v. Branson, 82 F. Supp. 2d 844, 860

(N.D. Ill. 2000).

     As there is no uncertain state law to decipher, Pullman abstention is

inappropriate.

E.     The 11th Amendment does not immunize the State defendants from
       this suit for both declaratory and prospective injunctive relief.

     Only two parties have raised 11th Amendment sovereign immunity

arguments—the Democratic National Committee (Dkt. 101 p. 19) and WEC. (Dkt.


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98 p. 17.) In general, “The Eleventh Amendment grants states immunity from

private suits in federal court without their consent.” Nuñez v. Indiana Dep't of

Child Servs., 817 F.3d 1042, 1044 (7th Cir. 2016) (emphasis added).9 The DNC is a

political partisan group that does not wield any power of the state and voluntarily

injected itself in this action as an intervening party. Its brief fails to explain how it

can raise Eleventh Amendment immunity objections on behalf of the State of

Wisconsin.

       There are three exceptions to Eleventh Amendment immunity: (1) suits against

state officials seeking prospective equitable relief for violations of federal law; (2)

Congressional abrogation of the state’s immunity; and (3) the state’s waiver of

immunity and consent to suit in federal court. Id. Except for WEC, the other State

Defendants have not raised this defense.

       In any event, both WEC and the DNC recognize that the Plaintiff seeks relief

under the first exception for prospective equitable relief as permitted under Ex

Parte Young, 209 U.S. 123 (1908). They assert the Plaintiff’s federal constitutional

claims are based solely on violations of state law rather than federal law, and thus

they argue, 11th Amendment immunity precludes this Court from hearing those

claims under Pennhurst State Sch. & Hosp. v. Halderman, 465 U.S. 89 (1984)




   9 11th Amendment immunity extends only to state officials, not municipal
officers. Richman v. Sheahan, 270 F.3d 430, 439 (7th Cir. 2001) (“The Eleventh
Amendment does not apply to suits against counties or other local government
entities.”) None of the municipal defendants have raised this defense.

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(holding that the 11th Amendment denies federal courts from granting relief

against states on the basis of state law).

    However, these arguments fail to recognize the intersection of state and federal

law uniquely presented in cases arising under Article II’s Electors Clause. The

President has brought his claims on the grounds that Article II delegates federal

constitutional authority for conducting presidential elections exclusively the State

Legislature. This means that

      in the case of a law enacted by a state legislature applicable not only to
      elections to state offices, but also to the selection of Presidential
      electors, the legislature is not acting solely under the authority given it
      by the people of the State, but by virtue of a direct grant of authority
      made under Art. II, § 1, cl. 2, of the United States Constitution.”

Bush v. Palm Beach Cty. Canvassing Bd., 531 U.S. 70, 76 (2000). “A significant

departure from the legislative scheme for appointing Presidential electors presents

a federal constitutional question.” Bush v. Gore, 531 U.S. 98, 113 (2000) (Rehnquist,

C.J., concurring). Following Bush v. Gore, several other courts have likewise held

that the 11th Amendment does not bar federal suits pertaining to violations of state

election law under Article II’s Electors Clause. Donald J. Trump for President, Inc.

v. Bullock, 2020 WL 5810556, at *5 (D. Mont. Sept. 30, 2020) (“Plaintiffs contend

that Governor Bullock, not the ‘Legislature,’ has altered the time, place, and

manner of Montana’s federal elections in contravention of the United States

Constitution. … This is quintessentially a federal question [and] no Eleventh

Amendment barrier blocks adjudication.”) (emphasis added); Democracy N.



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Carolina v. N. Carolina State Bd. of Elections, 2020 WL 6589362, at *1–2 (M.D.N.C.

Oct. 2, 2020), amended on reconsideration, 2020 WL 6591367 (M.D.N.C. Oct. 5,

2020) (“[T]his court intends to address whether the North Carolina State Board of

Elections, by and through its most recent Memo 2020-19, has, through Executive

action, unconstitutionally modified the North Carolina legislative scheme for

appointing Presidential electors. That is a constitutional question, not a

question of state law.”) (emphasis added).

    None of the cases cited by Defendants involve questions of fidelity to the

Legislature’s manner of conducting presidential elections under the Electors Clause.

(See Dkt. 101 pp. 19–20 and Dkt. 98 p. 17) (citing Dean Foods Co. v. Brancel, 187

F.3d 609, 613 (7th Cir. 1999) (dairy regulations); Colon v. Schneider, 899 F.2d 660,

672 (7th Cir. 19900 (state prison regulations); Massey v. Coon, No. 87-3768, 1989

WL 884 at *2 (9th Cir. Jan. 3, 1989) (objections to pro tem judges); Balsam v. Sec’y

of State, 607 F.App’x 177, 183–84 (3d Cir. 2015) (pendent state law claims); Archie

v. City of Racine, 847 F.2d 1211, 1217 (7th Cir. 1988) (provision of fire rescue

services); Ohio Republican Party v. Brunner, 543 F.3d 357, 360–61 (6th Cir. 2008)

(Voting Rights Act claims); Rose v. Bd. of Election Comm’rs for City of Chi., 815 F.3d

372, 375 (7th Cir. 2016) (claims by candidate for city alderman).

    As a result, Defendants’ attempts to avoid federal judicial review should be

denied.




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F.        The Wisconsin Elections Commission and municipal election officials
          did not conduct this election “in such Manner as the Legislature
          thereof may direct.”

     Executive branch and local officials made ultra vires modifications to the

Legislature’s explicit directions for the manner of conducting absentee voting in

Wisconsin for the presidential election. Plaintiff recognizes that no election is

perfect and anecdotal irregularities can occur. However, the Defendants’ actions

subject to this suit are not mere anecdotal irregularities but reflect ultra vires

modifications to the Legislature’s directions set out in the Election Code, which the

Defendants promulgated systemically and structurally through policy directives,

guidance, and instructions to be carried out by subordinate election officials and

workers. And these directives were, in fact, carried out with extensive and tangible

effect.

     “The [Wisconsin E]lections [C]ommission shall have the responsibility for the

administration of chs. 5 to 10 and 12 and other laws relating to elections and

election campaigns, other than laws relating to campaign financing.” Wis. Stat. §

5.05(1) (emphasis added). While the Commission is empowered to “[p]romulgate

rules under ch. 227 applicable to all jurisdictions for the purpose of interpreting or

implementing the laws regulating the conduct of elections,” Wis. Stat. § 5.05(1)(f), “a

rule is not valid if the rule exceeds the bounds of correct interpretation.” Wis. Stat. §

227.11(2)(a). Even so, the Commission did not attempt to promulgate its ultra vires

modifications at issue here through formal rulemaking but rather through

published “guidance” documents, which “do[] not have the force of law.” Wis. Stat. §

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227.112(3). Yet despite lacking the force of law, the Commission’s Guidance

Documents directed clerks throughout the state to violate the Legislature’s

directives, and in accordance with the WEC’s urging, the law was repeatedly and

systematically violated.

1.     Plaintiff was not required to file a complaint with the Wisconsin
       Elections Commission as a condition to this action, because he was
       not eligible to do so.

     The Municipal Officials incorrectly assert that Plaintiff was required to file a

complaint with the Wisconsin Election Commission as a condition to filing this

action. (Dkt. 70 p. 25) (citing Wis. Stat. § 5.06(3)). However, the relevant statute

provides:

       No person who is authorized to file a complaint under sub. (1), other
       than the attorney general or a district attorney, may commence an
       action or proceeding to test the validity of any decision, action or
       failure to act on the part of any election official with respect to any
       matter specified in sub. (1) without first filing a complaint under sub.
       (1), nor prior to disposition of the complaint by the commission.

Wis. Stat. § 5.06(2) (emphasis added). However, under Subdivision (1), Plaintiff was

not (and is not) eligible to file a complaint with the WEC, because he is not a

Wisconsin elector: “Whenever any elector…believes that a [violation has occurred],

the elector may file a written sworn complaint with the commission….” Wis. Stat. §

5.06(1) (emphasis added); see Wis. Stat. § 6.02 (designating “electors” as Wisconsin

residents).

     This action was instituted by the Plaintiff, who as alleged in the Complaint, is a

Florida resident. (Compl. ¶ 1.) Thus, by its plain language, Wis. Stat. § 5.06(2) does


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not require Plaintiff to file a complaint with the WEC as a condition to bringing this

action.

2.        The Heart of the Matter—The Municipal Defendants believe the
          Wisconsin Election Code is “directory, not mandatory.”

      The Municipal Defendants stunningly assert that “nearly all” the Wisconsin

Election Code requirements are “directory, not mandatory.”10 (Dkt. 70 p. 26.) This

captures the very root of the problem this action seeks to redress—Wisconsin

election officials treated the Legislature’s clear directives as mere suggestions,

rather than mandatory procedures. In support, the Municipal Defendants cite Wis.

Stat. § 5.01(1), but ignore the emphasized clause:

          Except as otherwise provided, chs. 5 to 12 shall be construed to give
          effect to the will of the electors, if that can be ascertained from the
          proceedings, notwithstanding informality or failure to fully comply
          with some of their provisions.

Wis. Stat. § 5.01(1). In the 1980s—decades before the specter of either a Trump or

Biden candidacy—the Wisconsin Legislature clearly expressed its policy

determination that absentee voting is a privilege not a right:

          [V]oting by absentee ballot is a privilege exercised wholly outside the
          traditional safeguards of the polling place. The legislature finds that
          the privilege of voting by absentee ballot must be carefully
          regulated to prevent the potential for fraud or abuse[.]

Wis. Stat. § 6.84(1) (emphases added). In stark contrast to the Defendants’ flippant

attitude toward the absentee voting procedures the Legislature also directed:



    Merriam Webster’s defines “directory” as “providing advisory but not
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compulsory guidance.” https://www.merriam-webster.com/dictionary/directory

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       Notwithstanding s. 5.01(1), with respect to matters relating to the
       absentee ballot process, ss. 6.86, 6.87(3) to (7) and 9.01(1)(b)2. and 4.
       shall be construed as mandatory. Ballots cast in contravention
       of the procedures specified in those provisions may not be
       counted. Ballots counted in contravention of the procedures specified
       in those provisions may not be included in the certified result of
       any election.

Wis. Stat. § 6.84(2). Defendants’ flippant attitude toward these clear mandates is

alarming.

3.     Using approximately 500 unmanned drop boxes clearly violated the
       Wisconsin Election Code.

     In one of its “mandatory” code sections detailing the absentee voting procedure,

the Wisconsin Election Code specifies exactly where and how absentee ballots may

be cast and deposited: “The envelope [containing the absentee ballot] shall be

mailed by the elector, or delivered in person, to the municipal clerk issuing the

ballot or ballots.” Wis. Stat. § 6.87(4)(b)1; see Olson v. Lindberg, 2 Wis. 2d 229, 238,

85 N.W.2d 775, 781 (1957) (“None of the 18 absentee ballots which were invalid by

reason of the fact that they were not delivered to the town clerk at his office or

mailed there, may be counted.”)

     Moreover, the Legislature has made a single exception, providing for alternate

sites to which voters may return absentee ballots, but those alternate sites “shall

be staffed by the municipal clerk or the executive director of the board of election

commissioners, or employees of the clerk or the board of election commissioners.”

Wis. Stat. § 6.855(3) (emphasis added). Moreover, the alternate sites “shall be

located as near as practicable to the office of the municipal clerk or board of election


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commissioners,” and “no site may be designated that affords an advantage to any

political party.” Wis. Stat. § 6.855(1). Likewise, Wis. Stat. § 7.15(2m) provides, “I]n

a municipality in which the governing body has elected to an establish an alternate

absentee ballot site under s. 6.855, the municipal clerk shall operate such site

as though it were his or her office for absentee ballot purposes and shall ensure

that such site is adequately staffed.” (Emphases added.)

    Yet the WEC guidance explicitly violated the Legislature’s directive:




(Compl. Ex. 13 p. 1.)

    The Municipal Defendants and Governor Evers assert that the drop boxes were

nevertheless secure. (Dkt. 70 p. 23; Dkt. 95 p. 12.) While that might be the subject

of a fact dispute, and thus inappropriate for resolution on a motion to dismiss, it is

immaterial. By specifying how alternate sites “shall be” established and managed,

the Legislature already expressed its collective wisdom on how to maintain the

security of those sites. Under Article II, the Legislature—and only the Legislature—

gets to make that determination for Wisconsin, and it has determined that “[b]allots

cast in contravention of th[os]e procedures…may not be counted [and] may not be

included in the certified result of any election.” Wis. Stat. § 6.84(2). The fact that



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the Governor, WEC, and Municipal Defendants believe they can create a better (or

at least equally secure) process is of no moment, as the Constitution requires them

to follow the Wisconsin Legislature’s directions. And while legislatures in other

states may have exercised their prerogative under Article II to authorize drop boxes

in their states, as WEC argues (Dkt. 98 p. 21 n.10), that does not give WEC and

municipal clerks the freedom to ignore the Wisconsin Legislature’s prerogative

under Article II to direct the manner of conducting elections in Wisconsin.

    In another “mandatory” code section for absentee voting procedures, the

Legislature has directed that “[t]he [absentee] ballot shall be returned so it is

delivered to the polling place no later than 8 p.m. on election day.” Wis. Stat. §

6.87(6). If it is not, it “may not be counted.” Wis. Stat. § 6.87(6) (emphasis added).

    Yet the drop box registry lists numerous entries expressly stating “Final Pick-

Up 8:00 p.m. on November 3, 2020,” making delivery to the polling place by the

exact same time impossible. (Compl. Ex. 18 p. 3.)11 This, too, violated the

Legislature’s directives.

    Governor Evers incorrectly and disingenuously argues that “WEC issued its

guidance consistent with President Trump’s Cybersecurity and Infrastructure

   11 The Municipal Defendants have attached a photograph purporting to depict a
single drop box in a single location, but the supporting affidavit, submitted by one of
its attorneys in this case, contains no foundation of his personal knowledge or assert
that it is representative of all drop boxes in Madison, let alone the entire State.
(May Decl. ¶¶ 1, 13 [Dkt. 73] and Ex. 11, [Dkt. 73-11].) In any event, the attempt to
introduce a photograph through a motion to dismiss is entirely improper and does
not disprove the information published about numerous other drop boxes in
Plaintiff’s Exhibit 18.

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Security Agency [CISA] recommendations.” (Dkt. 95 p. 12.) However, as the

President emphasized in his Complaint, WEC omitted and ignored an important

CISA warning: “If you are considering the use of ballot drop boxes, you should

review your existing laws and requirements and determine whether emergency

changes may be necessary.” (Compl. ¶¶ 184–85 Ex. 15.) And the Milwaukee City

Defendants argue that the drop boxes were warranted to accommodate “widespread

safe election practices encourage by the WEC during the COVID-19 pandemic.”

(Dkt. 76 p. 8.) But “[h]owever well-intentioned and appropriate from a policy

perspective in the context of a pandemic during a presidential election, it is not the

province of a state executive official to re-write the state’s election code, at least as

it pertains to selection of presidential electors.” Carson v. Simon, 978 F.3d 1051,

1060 (8th Cir. 2020). “There is no pandemic exception to the Constitution.” Id.

4.     Defendants unlawfully directed pollworkers to alter numerous
       ballots to cure defects which, by statute, can only be cured by a voter

     The Wisconsin Election Code is crystal clear and mandatory: “If a[n absentee

voter’s] certificate is missing the address of a witness, the ballot may not be

counted.” Wis. Stat. § 6.87(6d). WEC and the Milwaukee County Defendants

wrongly accuse the Plaintiff of seeking to re-write the statute. (Dkt. 98 p. 23; Dkt.

81 pp. 22–23.) Rather, it is Defendants who would add a new rule—that a ballot

must not be counted, unless the clerk can ascertain the missing information and fills

it in. (Dkt. 98 p. 23; Dkt. 95 pp. 9–10.) The Election Code does not authorize clerks




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or anyone other than the voter to “cure” missing information from the certification;

rather, the code specifies the procedure for remedying a deficient certificate:

      If a municipal clerk receives an absentee ballot with an improperly
      completed certificate or with no certificate, the clerk may return the
      ballot to the elector, inside the sealed envelope when an envelope is
      received, together with a new envelope if necessary, whenever time
      permits the elector to correct the defect and return the ballot within the
      period authorized under sub. (6) [i.e. to the polling place by 8 p.m. on
      Election Day].

Wis. Ann. § 6.87(9).

    However, rather than follow the Legislative’s directive that the ballot may

either be returned to the voter to correct it or “may not be counted,” WEC issued its

own last-minute, ultra vires “guidance” to all Wisconsin clerks modifying this

directive:




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(Comp. Ex. 35 [ECF 12-35] pp. 1, 3.) WEC justifies its guidance arguing the statute

above states the clerk “may” return the envelope to the voter. (Dkt. 98 p. 24.) And

that’s true. The clerk is not required to return the envelope to the voter. But the fact

that a clerk “may” return the envelope to a voter does not authorize or gives a clerk

discretion to fill in the missing information unilaterally or otherwise. Even

assuming the statute gives clerks that discretion, there are no detailed statewide

standards to guide the clerk’s discretion to determine when to return the envelope

to a voter or when to fill it out him- or herself.

    The testimony and evidence at the hearing will show that workers in the

Clerks’ offices—not the voters—attempted to “cure” voters’ certifications—contrary

to the Legislature’s directive—by adding missing witness addresses in red ink. The

declaration of Claire Woodall-Vogg, Executive Director of Milwaukee City Elections

Commission, readily admits her office’s systemic following of WEC’s unlawful

advice. If witness information was missing from the voter’s certification, “we added

the municipality,” “we would add the address,” “we added it [the missing

information].” (Dkt. 80 pp. 2–3 ¶¶ 7a–7d.)

    Additional evidence at the hearing will show that during the absentee ballot

canvassing, when ballot counters raised challenges to ballots containing these

alterations, Defendant Woodall-Vogg refused to allow these challenges, made an

announcement that such challenges would not even be entertained, and the ballot

counters were bullied into submissive silence. Pollwatchers were likewise denied



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meaningful access to challenge the unlawful practices and any attempts to do so

were similarly shot down.

     Both the Milwaukee County and Milwaukee City Defendants act like missing

witness address information is no big deal. For election workers to alter sworn

certifications on an absentee ballot envelope obviously makes little sense in terms of

process management, chain of custody, or election integrity and there exist no

detailed statewide standards that would authorize or guide such conduct by election

workers.

5.     Defendants ignored the Legislature’s reliability safeguards for
       absentee ballots by circumventing photo ID requirements through
       misuse of the “indefinitely confined” exception.

     In their Motion to Dismiss, the Municipal Defendants assert the Dane County

Clerk McDonell obeyed the Wisconsin Supreme Court’s order after it found his

publicly posted advice might mislead voters to vote illegally and enjoined him from

such further postings. (Dkt. 70 p. 28.) This is a fact assertion inappropriate to

decide a motion to dismiss.

     Moreover, the Defendants incorrectly argue that the Wisconsin Supreme Court

in Jefferson v. Dane County (May Decl. Ex. 5, Dkt. 73-5) adjudicated the validity of

WEC’s March 29, 2020, guidance (Compl. Ex. 2, Dkt. 12-2) in its entirety. (Dkt. 70

pp. 21–22; Dkt. 98 p. 20; Dkt. 95 p. 11 n.15; Dkt. 81 p. 21; Dkt. 76 p. 8.) The Court

merely held that McDonell’s public advice urged voters to violate Wisconsin election

law and ordered any future postings to conform to two paragraphs of the WEC

guidance. (Dkt. 73-5 pp. 2–3.) The Court confined its holding to the two specific

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paragraphs quoted in its order and did not adjudicate the remaining content from

the WEC guidance, which suggested that “[d]uring the current public health crisis,

many voters of a certain age or in at-risk populations may meet that standard of

indefinitely confined until the crisis abates.” (Compl. Ex. 2 p. 2). In an apparent

recognition of the guidance’s overreach, Governor Evers re-writes the guidance in

his brief, arguing that “Some voters may meet the standard….” (Dkt. 95 p. 11.)

G.     Plaintiff is entitled to declaratory and injunctive relief

     The Declaratory Judgment Act provides:

       [A]ny court of the United States…may declare the rights and other
       legal relations of any interested party seeking such declaration,
       whether or not further relief is or could be sought. Any such
       declaration shall have the force and effect of a final judgment or decree
       and shall be reviewable as such.

28 U.S.C. § 2201.

     “[T]he Declaratory Judgment Act does not ‘extend’ the ‘jurisdiction’ of the

federal courts.” Medtronic, Inc. v. Mirowski Family Ventures, LLC, 571 U.S. 191,

197 (2014). Rather, the Declaratory Judgment Act, “place[d] a remedial arrow in the

district court's quiver.” Wilton v. Seven Falls Co., 515 U.S. 277, 288 (1995).

     As set forth above, a case and controversy exists. Despite the protestations of

the Defendants, President Trump suffered a particularized harm, different than the

public. The harm was the result of a collection of practices each of which were

contrary to Wisconsin election statutes. As a result, he was denied the

Constitutional right to have electors appointed in a lawful manner in an election in

which he was a candidate.

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    Each State is delegated authority to cast electoral votes for president in 2020,

but, only if 3 conditions are met:

      1) a statewide vote for electors is held on Nov. 3; (required by 3 U.S.C. § 1)
      2) that election must be held in the manner directed by the state legislature;
      (required by U.S. CONST. Art. II, § 1, cl. 2) and
      3) the electors must cast their votes on Dec. 14 (required by 3 U.S.C. § 7).
    If a State fails to meet any condition, it cannot cast its electoral votes for

President and Vice President, just as in any other situation, public or private, the

result reached by the agent is invalid if the conditions of the delegation are not

honored. President Trump is entitled to a declaratory judgment that the election

was not conducted in a lawful manner and therefore electoral votes cast on

December 14 as a result of the flawed election are not valid.

    Fortunately for the State of Wisconsin, the Electoral Count Act does contain a

savings provision that permits the State Legislature to appoint electors in the event

the Presidential election held in the State or to be held in the State does not meet

constitutional standards or otherwise fails.

    To cover such situations Congress enacted 3 U.S.C. § 2 which provides:

      Whenever any State has held an election for the purpose of choosing
      electors, and has failed to make a choice on the day prescribed by law,
      the electors may be appointed on a subsequent day in such a manner
      as the legislature of such State may direct.

    As the Wisconsin Elections Commissions explained in its earlier filing in this

Wisconsin Supreme Court (the Original Action) (and discussed supra), the winner of

Wisconsin’s ten electoral votes can be certified “after the electors have convened and


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cast their electoral votes,” and before January 6. Response of Respondents

Wisconsin Elections Commission and Commissioner Ann Jacobs in Case. No.

20AP1971-OA, filed Dec. 1, 2020, at 8.12

    As WEC explained in the Original Action filing, 3 U.S.C. § 6 provides that a

state governor may issue a certificate of ascertainment based on the canvassing and

then a subsequent certificate of “determination” upon the conclusion of all election

challenges. Id. The certificate of “determination” notifies the U.S. Congress of the

state decision when Congress convenes on January 6 to count the electoral votes.

Consequently, the WEC has acknowledged that this matter is not moot, and could

not be for four more weeks.

    Consistent therewith, this Court should issue injunctive relief ordering

Governor Evers to issue a certificate of determination consistent with, and only

consistent with, the appointment of electors by the Wisconsin legislature.

    Injunctive relief requires the showing of irreparable harm, that monetary

damages are inadequate to remedy the injury, that the equitable remedy is

warranted upon balancing the hardship between the parties, and the public interest




   12 See also Bush v. Gore, 531 U.S. 98, 144 (2000) (Ginsburg, J., dissenting)
(noting that the date that has “ultimate significance” under federal law is “the sixth
day of January,” the date set by 3 U.S.C. § 15 on which “the validity of electoral
votes” is determined); Laurence H. Tribe, Comment: eroG .v hsuB and Its Disguises:
Freeing Bush v. Gore From Its Hall of Mirrors, 115 Harv. L. Rev. 170, 265-66 (2001)
(noting that the only real deadline for a State’s electoral votes to be finalized is
“before Congress starts to count the votes on January 6”).

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would be well served. Kartman v. State Farm Mut. Auto. Ins. Co., 634 F.3d 883, 892,

2011 WL 488879 (7th Cir. 2011).

    As discussed throughout and as will be demonstrated at the hearing, President

Trump was harmed by Defendants’ failure to conduct an election in the manner

prescribed by the Wisconsin legislature. Defendants’ actions cannot be undone and

an equitable remedy is the only available remedy.

    Defendants will predictably argue that the President’s remedy will

disenfranchise Wisconsin voters. Defendants have it backwards. Defendants’

decisions and actions disenfranchised Wisconsin voters.

    Their decisions and actions deviating from Wisconsin law resulted in an election

that was not conducted in the manner described by the legislature. Their decisions

and actions resulted in a void election, and their decisions and actions resulted in

the inability of Wisconsin to appoint electors as a result of the election.

    It is President Trump who vindicates the rights of Wisconsin voters by ensuring

Wisconsin will submit electoral votes on January 6, 2021. And that submission

must come from the voters’ representatives in the Wisconsin legislature pursuant to

3 U.S.C. § 2 (“the electors may be appointed on a subsequent day in such a manner

as the legislature of such State may direct”).

    Defendants’ briefs emit a coordinated theme, warning of the effect on future

elections if this Plaintiff is successful this time. That concern is easily allayed.




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    Ultimately, rights are safeguarded, liberty is protected, and elections are fair

when state officials follow the law. When they do not do so, as here, the long-term

ramifications for the public’s faith in the electoral process is undermined and the

foundations of democracy are threatened. For democracy to remain, vibrant

elections must be run with clear and settled rules. The constitutional checks and

balances for Presidential elections must be respected.

    Local officials acting without limitations to change the rules in an election for

President are an existential threat to the constitutional structure for elections. As

this election demonstrates, the outcome of the voting in just a few counties in the

entire country can tip the electoral balance. Article II represents the Framers’

decision to deny that power to executive branch, administrative, and local officials,

but if Article II is to have any teeth, it must be enforced. To do otherwise would

cause the Electoral College to be tainted with the votes of electors chosen in an

unconstitutional election. Not only are Wisconsin voters the losers in such a

scenario, voters throughout the country and the rule of law would lose as well.

    Unelected bureaucrats and municipal officials should not subvert the will of the

legislature which is delegated the responsibility to determine the manner of the

election. If nothing is done now to demonstrate violations of the election laws have

real consequences, there will be long term effects. Partisans will be encouraged to

violate the laws. Citizens’ trust in the governmental institutions, and the belief in

transparent and fair elections will continue to erode.



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    John Adams said, ours is “a government of laws, and not of men.” (John Adams,

1779). The entire American experiment from the Declaration of Independence in

1776 when distilled down, into just four words, is this: The Rule of Law.

    President Trump asks that the Rule of Law be followed. Defendants ask that

this Court allow them to determine the law as is convenient and best for them.


                                    CONCLUSION

    For the foregoing reasons, Plaintiff President Donald J. Trump respectfully

requests the Court to deny the Motions to Dismiss and to grant his request for

declaratory and injunctive relief, and for all other just and proper relief.

DATED: December 9, 2020.                   .

                                  Respectfully Submitted,

                                  KROGER, GARDIS & REGAS, LLP

                                  /s/ William Bock, III

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                           CERTIFICATE OF SERVICE

      A copy of the foregoing document was served upon all parties’ counsel of
record via this Court’s CM/ECF service on this 9th day of December, 2020.

                                                /s/ William Bock, III

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